Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 1 of 16 PageID #: 2823




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                )
                                        )
                    Plaintiff,          )
                                        )
       v.                               )    C.A. No. 22-1466 (MN)
                                        )
TESLA, INC.,                            )
                                        )
                    Defendant.          )



                    REPLY BRIEF IN SUPPORT OF DEFENDANT’S
                     MOTION TO DISMISS UNDER RULE 12(b)(6)


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Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 2 of 16 PageID #: 2824




                                                  TABLE OF CONTENTS

                                                                                                                                       Page

I.     Introduction ..........................................................................................................................1

II.    Argument .............................................................................................................................2

       A.         Only the Ten Asserted Claims Are at Issue at the Pleading Stage ..........................2

       B.         Plaintiff Has Not Shown that Claim Construction or Discovery Is Necessary
                  to Resolve Tesla’s Motion .......................................................................................3

       C.         The Ten Asserted Claims Fail Steps One and Two of the Alice Test ......................6

                  1.         The Two Claims Selected by Tesla Are Representative of the Ten
                             Asserted Claims ...........................................................................................6

                  2.         Plaintiff’s Counterarguments for Alice Step One Are Unavailing...............7

                  3.         Plaintiff’s Counterarguments for Alice Step Two Are Unavailing ..............9

III.   Conclusion .........................................................................................................................10




                                                                    i
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 3 of 16 PageID #: 2825




                                                TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

AI Visualize, Inc. v. Nuance Commc’ns, Inc.,
       No. CV 21-1458-RGA, 2022 WL 2643530 (D. Del. July 8, 2022) .................................... 2

Apple, Inc. v. Ameranth, Inc.,
       842 F.3d 1229 (Fed. Cir. 2016)........................................................................................... 9

Ashcroft v. Iqbal,
       556 U.S. 662 (2009) ............................................................................................................ 3

CardioNet, LLC v. InfoBionic, Inc.,
      955 F.3d 1358 (Fed. Cir. 2020)........................................................................................... 9

Cleveland Clinic Found. v. True Health Diagnostics LLC,
       859 F.3d 1352 (Fed. Cir. 2017)........................................................................................... 3

Consumer 2.0, Inc. v. Tenant Turner, Inc.,
      343 F. Supp. 3d 581 (E.D. Va. 2018) ................................................................................. 2

Content Extraction & Transmission LLC v. Wells Fargo Bank Nat’l Ass’n,
      776 F.3d 1343 (Fed. Cir. 2014)........................................................................................... 7

Diamond v. Diehr,
      450 U.S. 175 (1981) ............................................................................................................ 8

DiStefano Pat. Tr. III, LLC v. LinkedIn Corp.,
       346 F. Supp. 3d (D. Del. 2018) ........................................................................................... 2

Elec. Commc’n Techs., LLC v. ShoppersChoice.com, LLC,
       958 F.3d 1178 (Fed. Cir. 2020)........................................................................................... 4

Genetic Techs. Ltd. v. Merial L.L.C.,
       818 F.3d 1369 (Fed. Cir. 2016)........................................................................................... 3

Hyper Search, LLC v. Facebook, Inc.,
      No. CV 17-1387-CFC-SRF, 2018 WL 6617143 (D. Del. Dec. 17, 2018) ......................... 7

Koninklijke KPN N.V. v. Gemalto M2M GmbH,
      942 F.3d 1143 (Fed. Cir. 2019)........................................................................................... 8

Move, Inc. v. Real Est. All. Ltd.,
       721 F. App’x 950 (Fed. Cir. 2018) ................................................................................... 10




                                                                   ii
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 4 of 16 PageID #: 2826




Simio, LLC v. FlexSim Software Prod., Inc.,
       983 F.3d 1353 (Fed. Cir. 2020)........................................................................................... 4

TecSec, Inc. v. Adobe Inc.,
       978 F.3d 1278 (Fed. Cir. 2020)........................................................................................... 6

TrackTime, LLC v. Amazon.com, Inc.,
      No. CV 18-1518 (MN), 2019 WL 2524779 (D. Del. June 19, 2019) ................................. 2

Trading Techs. Int’l, Inc. v. IBM LLC,
       921 F.3d 1084 (Fed. Cir. 2019)......................................................................................... 10

Wireless Discovery LLC v. Eharmony, Inc.,
       No. CV 22-480-GBW, 2023 WL 1778656 (D. Del. Feb. 6, 2023)................................... 10




                                                               iii
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 5 of 16 PageID #: 2827




I.     INTRODUCTION

       Tesla moves to dismiss the complaint based on the ineligibility of the ten claims asserted

in the complaint, which merely cover the abstract idea of learning to perform a task by matching

a current circumstance with a previous circumstance. If the Court agrees that claim 1 of the ’449

and ’585 patents are representative of these asserted claims, then this motion is straightforward,

as Plaintiff—after listing the patents’ purported improvements over existing technology—has

conceded by its own admission that “None of these inventive elements are found in Tesla’s

‘representative’ claims.” Opp. 6.

       Despite this admission, Plaintiff argues that it is inappropriate to dismiss the complaint

because there are unasserted claims reciting several purported “improvements over existing

technology” such as “fleet learning” and “neural networks,” which their expert argues are “an

important leap over ‘pre-coded’ responses.” Opp. 6, 9, 11, 14-17. Plaintiff suggests that it will

assert these claims “at the appropriate time.” Opp. 2. But if this Court finds that the asserted claims

are patent ineligible, the operative complaint lacks merit and the case must be dismissed.

       Plaintiff further argues that the motion is inappropriate because Tesla uses “an extremely

high level of abstraction” to “conflate[e] one hundred thirty-four claims.” Opp. 1. Tesla

appropriately, however, addressed only the ten asserted claims at issue in the complaint, and Tesla

and Plaintiff have nearly identical descriptions of those asserted claims.

       Tesla’s motion is also not premature because eligibility is routinely resolved at the pleading

stage, and Plaintiff fails to explain how either claim construction or discovery could impact the

§ 101 analysis of the claims at issue.
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 6 of 16 PageID #: 2828




II.     ARGUMENT

        A.      Only the Ten Asserted Claims Are at Issue at the Pleading Stage

        Plaintiff’s opposition substantially relies on the premise that Tesla is “conflating one

hundred thirty-four claims across the six Asserted Patents into two representative claims.” Opp. 1

(emphasis in original). That premise is flawed. Tesla’s motion only addresses the ten claims

asserted in the complaint: ’449 Patent, claims 1 and 17; ’974 Patent, claims 1, 14, and 18; ’344

Patent, claims 1 and 3; ’583 Patent, claim 4; ’134 Patent, claim 1; and ’585 Patent, claim 1. Tesla

clearly listed the claims subject to this motion in its brief and included a reproduction of the

asserted claims in Exhibit 1 for comparison with the representative claims. Br. 5; D.I. 12, Ex. 1.

        Neither Tesla nor the Court needs to address the unasserted claims. See, e.g., DiStefano

Pat. Tr. III, LLC v. LinkedIn Corp., 346 F. Supp. 3d 616, 619 n. 1 (D. Del. 2018) (“[T]he unasserted

claims are not a part of this action and thus, the Court’s analysis is limited to the asserted claims.”);

Consumer 2.0, Inc. v. Tenant Turner, Inc., 343 F. Supp. 3d 581, 586 n.1 (E.D. Va. 2018) (“The

Court limits the scope of this ruling to the claims asserted and set forth in Plaintiff’s Complaint.”).

And indeed, this Court has previously granted motions to dismiss without addressing unasserted

claims. See, e.g., TrackTime, LLC v. Amazon.com, Inc., No. CV 18-1518 (MN), 2019 WL

2524779, at *6 (D. Del. June 19, 2019) (“I am granting the motion to dismiss. I understand that

there are additional claims of one of the patents that have not been asserted, and I am not addressing

. . . those claims as they are not before me.”); AI Visualize, Inc. v. Nuance Commc’ns, Inc., No.

CV 21-1458-RGA, 2022 WL 2643530 (D. Del. July 8, 2022) (dismissing complaint based on

determination that the thirty-five asserted claims were ineligible under § 101 without addressing

unasserted claims).

        Nonetheless, Plaintiff alleges in Opposition that “Tesla’s infringement encompasses many

other claims, which Autonomous Devices will identify through infringement contentions at the


                                                   2
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 7 of 16 PageID #: 2829




appropriate time.” Opp. 2. But Plaintiff did not plead infringement of these other claims in its

complaint. These unidentified patent claims are not relevant to the motion because Plaintiff must

show the complaint is sufficient to maintain this cause of action. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (“To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” (emphasis added)).

       Plaintiff also states that “this Court has correctly observed that it is not an efficient use of

judicial resources to determine eligibility of numerous claims across several patents at the motion

to dismiss stage absent an agreement on representativeness.” Opp. 7. The cases cited by Plaintiff

are inapposite, as each one involved the defendant seeking disposition of more than 100 patent

claims. Opp., Ex. 2 (more than 100 claims); Opp., Ex. 3 (145 claims); Opp., Ex. 4 (more than 170

claims). This motion, in contrast, involves a mere ten asserted claims. Plaintiff cites no authority

for the proposition that the Court should delay resolution of the patent eligibility question for the

ten asserted claims because the asserted patents contain additional unasserted claims.

       B.      Plaintiff Has Not Shown that Claim Construction or Discovery Is Necessary to
               Resolve Tesla’s Motion

       Plaintiff asserts that “the resolution of Section 101 eligibility of the patent claims would be

inappropriate at this early stage of the proceedings without the benefit of claim construction and

other discovery.” Opp. 1. But courts routinely resolve patent eligibility at the pleading stage.

Cleveland Clinic Found. v. True Health Diagnostics LLC, 859 F.3d 1352, 1360 (Fed. Cir. 2017)

(noting that the court has “repeatedly affirmed § 101 rejections at the motion to dismiss stage,

before claim construction or significant discovery has commenced”); see also Genetic Techs. Ltd.

v. Merial L.L.C., 818 F.3d 1369, 1374 (Fed. Cir. 2016). Although formal claim construction may

be necessary in some cases, Plaintiff has not explained why that would be the case here. Nor has

Plaintiff explained why discovery is necessary to evaluate the eligibility of the asserted claims.



                                                   3
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 8 of 16 PageID #: 2830




       Plaintiff argues that “without claim construction . . . it is not clear that claim elements like

the ‘artificial intelligence unit,’ ‘knowledgebase,’ ‘knowledge cell,’ ‘circumstance representation,’

‘object representations,’ ‘learning process that includes operating the first device at least partially

by the user,’ ‘learning process that includes operating the first device at least partially by another

user,’ ‘learning process that includes operating the third device at least partially by: the user, or

another user,’ etc. are indeed generic, well-known components.” Opp. 13-14. There are three holes

in this argument.

       First, three of these terms do not appear in the asserted claims: “knowledge cell,” “learning

process that includes operating the first device at least partially by another user,” and “learning

process that includes operating the third device at least partially by: the user, or another user.”

They are therefore irrelevant.

       Second, for the remaining terms, Plaintiff cannot avoid a motion to dismiss based on the

suggestion that a future claim construction might impact the Alice 101 analysis. The Federal Circuit

has rejected this argument, particularly where, as here, the plaintiff does not propose constructions

or explain how those constructions may impact eligibility. Simio, LLC v. FlexSim Software Prod.,

Inc., 983 F.3d 1353, 1365 (Fed. Cir. 2020) (“Simio has not explained how it might benefit from

any particular term’s construction under an Alice § 101 analysis . . . . We therefore see no error in

the district court’s determining ineligibility without first conducting claim construction.”); Elec.

Commc’n Techs., LLC v. ShoppersChoice.com, LLC, 958 F.3d 1178, 1183-84 (Fed. Cir. 2020)

(“ECT has not identified a single claim term that it believes requires construction before the

eligibility of claim 11 can be decided, much less how this construction could affect the analysis.

Under such circumstances . . . we conclude that the district court properly resolved patent eligibility

at the pleadings stage of the proceedings.” (emphasis added)).




                                                  4
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 9 of 16 PageID #: 2831




       Plaintiff cites three cases for the notion that “claim construction issues preclude a finding

of invalidity at the motion to dismiss stage.” Opp. 14. These cases are inapposite, as in each case,

the plaintiff proposed constructions and explained how those constructions would impact patent

eligibility. See Opp., Ex. 5 at 9-10 (noting that plaintiff provided constructions and that

construction of the terms “‘optimization engine’ and ‘adaptive scoring’ might capture a specific

genus of algorithms or types of rules”); Opp., Ex. 6 at 14 (“Plaintiff argued in its briefing and here

today that claim 27 of the ’438 Patent has the same remote storage requirement as in the ’559

Patent. Gryphon disputes that there is any such requirement in the ’438 Patent claims.”). Opp.,

Ex. 7 at 3 n.1 (citing plaintiff’s brief, attached hereto as Exhibit 2, which proposed constructions).

       Third, regardless, Plaintiff has not shown that the recited “artificial intelligence unit,”

“knowledgebase,” and “learning process” are anything other than generic. Indeed, the asserted

patents describe the artificial intelligence unit as “any hardware, programs, or a combination

thereof” that “compris[es] the functionality for learning one or more digital pictures correlated

with any instruction sets.” Br. 4. The asserted patents also explain that the “disclosed systems,

devices, and methods are independent of the artificial intelligence model and/or technique used

and any model and/or technique can be utilized,” and describe the “knowledgebase” as comprising

“any data structure or arrangement capable of storing the knowledge of a device’s operation.” Id.

at 4-5. In addition, the patents describe “circumstance representation” and “object representation”

as merely a representation of a circumstance or an object collected by a sensor (e.g., a digital

picture captured by a digital camera). ’344 Patent, 169:60-63; ’974 Patent, 1:46-51. Plaintiff offers

no countervailing evidence or argument that these claim elements are unconventional or otherwise

have a narrower meaning that is relevant to the § 101 analysis.




                                                  5
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 10 of 16 PageID #: 2832




       Accordingly, Plaintiff has not shown that claim construction or discovery is necessary to

resolve Tesla’s motion to dismiss.

       C.      The Ten Asserted Claims Fail Steps One and Two of the Alice Test

               1.      The Two Claims Selected by Tesla Are Representative of the Ten
                       Asserted Claims

       Tesla contends that Claim 1 of the ’449 and Claim 1 of the ’585 patents are representative

of the ten asserted claims. Br. 5-8. Plaintiff disputes that these claims are representative, alleging

that three claim elements are missing from the representative claims but present in other claims.

Opp. 5-6. Plaintiff’s argument fails because the elements it relies on are either not required by the

asserted claims or do not impact the eligibility analysis.

       First, Plaintiff states that “certain claims require a ‘second device to autonomously

perform’ operations using ‘instruction sets for operating the first device’ that are ‘learned’ by

‘operating the first device at least partially by a user.’” Opp. 5-6 (emphasis added). Plaintiff is

wrong—none of the asserted claims requires a second device. The asserted claims identified by

Plaintiff—’344 Patent claim 1 and ’974 Patent claims 1, 18— recite a second device as optional.

’344 Patent, claim 1 (“detected at least in part by: the one or more sensors of the first device or

one or more sensors of a second device…the first device or the second device autonomously

performs one or more operations”); see also ’974 Patent, 169:57-170:4, 174:1-10. The § 101

inquiry focuses on what the claims require, and the claims do not require a second device. TecSec,

Inc. v. Adobe Inc., 978 F.3d 1278, 1294 (Fed. Cir. 2020) (“The Step 1 ‘directed to’ analysis called

for by our cases depends on an accurate characterization of what the claims require . . . .”

(emphasis added)).

       Second, Plaintiff states that “Tesla’s faulty abstraction overlooks the claimed concepts of

a ‘neural network.’” Opp. 6. None of the asserted claims recites a “neural network,” which



                                                  6
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 11 of 16 PageID #: 2833




according to the specification, is nothing more than a generic component that is “similar to that of

a brain.” ’449 Patent, 95:48-57. Moreover, courts have found the claim term “neural network” to

recite no more than an abstract idea. E.g., Hyper Search, LLC v. Facebook, Inc., No. CV 17-1387-

CFC-SRF, 2018 WL 6617143, at *10 (D. Del. Dec. 17, 2018).

        Third, Plaintiff states that Tesla has overlooked the claimed concept of “a ‘knowledgebase’

or ‘knowledge structure’ that includes ‘knowledge cells.’” Opp. 6. But none of the asserted claims

recites a “knowledge cell.” While some of the asserted claims do recite a “knowledgebase” (’974

Patent at claims 1, 18; ’334 Patent at claim 1; ’134 Patent at claim 1), this is of no consequence.

Representative claim 1 of ’449 Patent and claim 1 of the ’585 Patent recite “a memory that stores

. . . digital pictures correlated with . . . instruction sets . . . [that] are learned in a learning process.”

The other asserted claims require the same, but recite “a memory that stores at least a

knowledgebase that includes” circumstance representations correlated with instruction sets that

are learned in a learning process. There is no meaningful difference between these claims because,

as explained in Tesla’s opening brief and uncontested in Plaintiff’s Opposition, a “knowledgebase”

is described in the specification as “any data structure or arrangement capable of storing the

knowledge of a device’s operation.” Br. 18 (quoting’449 Patent, 95:4-6). The presence of a generic

data structure stored in memory has no impact on the § 101 analysis. Thus, the claims remain

“substantially similar and linked to the same abstract idea.” Content Extraction & Transmission

LLC v. Wells Fargo Bank Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).

                2.       Plaintiff’s Counterarguments for Alice Step One Are Unavailing

        Tesla contends that the asserted claims are directed to the abstract idea of performing a task

by matching a current circumstance with a previously learned circumstance. Br. 1. Plaintiff

contends that “[t]he claims of the Asserted Patents are directed to specific improvements in

artificial intelligence (AI), autonomous operations, and/or simulation technology.” Opp. 8.


                                                      7
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 12 of 16 PageID #: 2834




Plaintiff’s argument is unavailing because it does not (and cannot) identify any technological

improvements described in the specification or recited in the asserted claims.

       First, Plaintiff states that the claims recite a second device learning from a first device,

which Plaintiff calls “fleet learning.” Opp. 9-10. But none of the asserted claims requires a second

device. At most, some of the asserted claims permit a second device. For example, claim 1 of the

’344 patent, cited by Plaintiff, recites “the one or more sensors of the first device, or one or more

sensors of a second device” and “wherein the first device or the second device autonomously

performs one or more operations” (emphasis added). The “directed to” inquiry of Alice step one

depends on what the claims require, not what they encompass. See Br. 13 (citing cases).

       Second, Plaintiff relies on purported improvements in “autonomous vehicles” detecting

“driving conditions” (e.g., Opp. 12), but none of the asserted claims requires a vehicle. Indeed,

Plaintiff does not dispute that the asserted claims extend to any device automating any task. Br. 14.

       Third, Plaintiff cites to notices of allowance for the notion that the asserted claims are an

improvement over the prior art. Opp. 8, 10, 12. This argument is misguided. Plaintiff is citing

examiner statements regarding novelty over §§ 102/103 prior art, which is irrelevant to eligibility

under § 101. Diamond v. Diehr, 450 U.S. 175, 188-89 (1981) (“The ‘novelty’ of any element or

steps in a process, or even of the process itself, is of no relevance in determining whether the

subject matter of a claim falls within the § 101 categories of possibly patentable subject matter.”).

Plaintiff also cites Koninklijke for the proposition that the “claimed advance over the prior art” is

an essential inquiry at Alice step one. Opp. 10 (citing Koninklijke KPN N.V. v. Gemalto M2M

GmbH, 942 F.3d 1143, 1149 (Fed. Cir. 2019)). But Plaintiff misunderstands the quotation from

Koninklijke. How a patent claims an improvement is relevant to the step one analysis, but “the

novelty or non-obviousness of the invention has little to no bearing on the question of what the




                                                 8
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 13 of 16 PageID #: 2835




claims are ‘directed to.’” CardioNet, LLC v. InfoBionic, Inc., 955 F.3d 1358, 1372 (Fed. Cir. 2020).

Here, while the background of the patents contends that existing systems “lack a way to learn

operation of a device or system and enable autonomous operation of a device or system” (’344

Patent at 1:44-48), the asserted claims do not recite any technological improvement to the way in

which learning is performed. Br. 12. Rather, the claims are “directed to a result or effect that itself

is the abstract idea and merely invoke generic processes and machinery.” Apple, Inc. v. Ameranth,

Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016).

       Finally, Plaintiff contends that Personal Web and S.I.SV.EL. are distinguishable because

they involved “patent claims that collected, observed, and learned without describing how this was

done in a manner that improved upon the prior art.” Opp. 11. To distinguish the asserted patents,

Plaintiff cites the ’344 Patent at column 1, lines 39-47. But as discussed above, these lines describe

a problem in the prior art, not a solution. The asserted claims cover any data structure for storing

and correlating pictures, objects, or circumstances with instructions, and any AI technique for

learning those correlations. E.g., ’449 Patent, 95:3-47. As shown below, Plaintiff’s description of

the claimed invention matches Tesla’s description of what the claims are “directed to.”

                 Plaintiff (Opp. 11)                                   Tesla (Br. 1)
 “The invention of the claims of the Object            “The asserted patents are directed to the
 Representation Patents achieves this autonomous       abstract idea of performing a task based on
 operation ‘based on (i) representations of that       matching a current circumstance with a
 device’s circumstances [] and (ii) representations    previously learned circumstance.”
 of circumstances [] and instructions learned from
 that device or another device’”

               3.      Plaintiff’s Counterarguments for Alice Step Two Are Unavailing

       Tesla contends that the asserted claims merely recite conventional computer components

performing their routine functions and lack an inventive concept. Br. 16. Plaintiff does not dispute

that the claims recite conventional computer components performing their routine functions,

arguing instead that this fact does not foreclose an inventive concept. Opp. 13.


                                                  9
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 14 of 16 PageID #: 2836




       Specifically, Plaintiff contends that “the claimed inventions were decidedly

unconventional as compared to prior art systems, which contained no notion of ‘autonomous

performed operations [] based on a correlation learned in a learning process that includes operating

a device at least partially by a user.’” Opp. 13; see also Opp. 14-17. But Plaintiff’s “alleged

inventive concepts are merely rephrasing the abstract idea and saying it is an inventive concept,

which is improper.” Wireless Discovery LLC v. Eharmony, Inc., No. CV 22-480-GBW, 2023 WL

1778656, at *11 (D. Del. Feb. 6, 2023) (citing Trading Techs. Int’l, Inc. v. IBM LLC, 921 F.3d

1084, 1093 (Fed. Cir. 2019) (“The abstract idea itself cannot supply the inventive concept, no

matter how groundbreaking the advance.” (internal citations and quotation marks omitted))).

       Plaintiff claims that the complaint and accompanying declaration of Dr. Saber “provide

pages of examples regarding how these patents were not well-understood, routine, or conventional

improvements to the prior art.” Opp. 17; see also Opp. 15, 16 (making similar claims). Tesla’s

opening brief addressed these “examples,” which amount to a recitation of claim language

followed by the conclusory assertion that the claimed features “were not well-understood, routine,

or conventional.” Br. 19. Plaintiff disputes this characterization (Opp. 15) but offers no

counterexamples. The Court need not accept these bald assertions as true. Move, Inc. v. Real Est.

All. Ltd., 721 F. App’x 950, 957 (Fed. Cir. 2018).

       Finally, for Alice step two, Plaintiff describes and relies on purported improvements in

“training a fleet of autonomous vehicles,” i.e., fleet learning. Opp. 14-16. Again, however, the

asserted claims require neither fleet learning nor vehicles.

III.   CONCLUSION

       For the foregoing reasons, Tesla requests that the Court grant its motion to dismiss.




                                                 10
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 15 of 16 PageID #: 2837




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February 13, 2023




                                     11
Case 1:22-cv-01466-MN Document 16 Filed 02/13/23 Page 16 of 16 PageID #: 2838




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

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